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                                UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

                                                           Civil Action No. 2:18-cv-03326-RMG
SOUTH CAROLINA COASTAL                                     (Consolidated with 2:18-cv-3327-RMG)
CONSERVATION LEAGUE; et al.,

                       Plaintiffs
                                                           INTERVENOR-DEFENDANTS’
                       and                                 NOTICE OF JOINDER IN FEDERAL
                                                           DEFENDANTS’ REPLY IN
STATES OF MARYLAND, et al.                                 SUPPORT OF PARTIAL MOTION
                                                           TO DISMISS PLAINTIFF-
                       Intervenor-Plaintiffs,              INTERVENOR SOUTH
v.                                                         CAROLINA’S COMPLAINT-IN-
                                                           INTERVENTION
WILBUR ROSS, in his official capacity as the
Secretary of Commerce; et al.,

                       Defendants

                       and

INTERNATIONAL ASSOCIATION OF
GEOPHYSICAL CONTRACTORS, et al.

                       Intervenor-Defendants.



CITY OF BEAUFORT; et al.,

                       Plaintiffs,

v.

NATIONAL MARINE FISHERIES
SERVICE; et al.,

                       Defendants.


         Intervenor-Defendants International Association of Geophysical Contractors, CGG

Services (U.S.) Inc., GX Technology Corporation, Spectrum Geo Inc., TGS-NOPEC



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Geophysical Company, WesternGeco LLC, and American Petroleum Institute respectfully join

and support the Federal Defendants’ Reply in support of their Partial Motion to Dismiss

Plaintiff-Intervenor South Carolina’s Complaint-in-Intervention, Dkt. 290. For the reasons set

forth in the Federal Defendants’ motion to dismiss and reply, Claims 1, 6, 7 and 8 of South

Carolina’s Complaint-in-Intervention should be dismissed.

DATED: May 17, 2019                      Respectfully submitted,


                                          s/ Sean D. Houseal
                                         Richard Morton, Fed. Id. No. 5442
                                         Sean Houseal, Fed. Id. No. 7676
                                         WOMBLE BOND DICKINSON (US) LLP
                                         301 S. College Street, Suite 3500
                                         Charlotte, NC 28202-6037
                                         5 Exchange Street
                                         Charleston, SC 29401
                                         Telephone: 704-331-4993
                                                     843-720-4622
                                         Facsimile: 843-723-7398
                                         Email: Ric.Morton@wbd-us.com
                                         Email: Sean.Houseal@wbd-us.com


                                         Ryan P. Steen, Admitted Pro Hac Vice
                                         Jason T. Morgan, Admitted Pro Hac Vice
                                         STOEL RIVES LLP
                                         600 University Street, Suite 3600
                                         Seattle, WA 98101
                                         Telephone: 206-624-0900
                                         Facsimile: 206-386-7500
                                         Email: ryan.steen@stoel.com
                                                 jason.morgan@stoel.com

                                         Counsel for Intervenor-Defendants




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